                                                                                                                   Entered on Docket
                                                                                                                   September 16, 2019
                                                                                                                   EDWARD J. EMMONS, CLERK
                                                                                                                   U.S. BANKRUPTCY COURT
                                                                                                                   NORTHERN DISTRICT OF CALIFORNIA

                                                                   1   Jeffrey N. Pomerantz (CA Bar No. 143717)
                                                                       Jeremy V. Richards (CA Bar No. 102300)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       Pachulski Stang Ziehl & Jones LLP      The following constitutes the order of the Court.
                                                                                                    th
                                                                       10100 Santa Monica Blvd., 13 Floor     Signed: September 16, 2019
                                                                   3
                                                                       Los Angeles, CA 90067
                                                                   4   Telephone: 310.277.6910
                                                                       Facsimile: 310.201.0760                _________________________________________________
                                                                                                              M. Elaine Hammond
                                                                   5   Email: jpomerantz@pszjlaw.com          U.S. Bankruptcy Judge
                                                                               jrichards@pszjlaw.com
                                                                   6           mpagay@pszjlaw.com

                                                                   7   Henry C. Kevane (CA Bar No. 125757)
                                                                       Pachulski Stang Ziehl & Jones LLP
                                                                   8   150 California St., 15th Floor
                                                                       San Francisco, CA 94111
                                                                   9   Telephone: 415.263.7000
                                                                       Facsimile: 415.263.7010
                                                                  10   Email: hkevane@pszjlaw.com

                                                                  11   Proposed Attorneys for Home Loan Center,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       Inc.
                                                                  12
                                                                                                  UNITED STATES BANKRUPTCY COURT
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                  14
                                                                                                              SAN JOSE DIVISION
                                                                  15
                                                                       In re:                                                Case No.: 19-51455 (MEH)
                                                                  16                                                         Chapter 11
                                                                       HOME LOAN CENTER, INC.,
                                                                  17                                                         ORDER GRANTING DEBTOR’S MOTION
                                                                                                    Debtor.                  TO CONVERT CASE UNDER 11 U.S.C.
                                                                  18                                                         § 1112(a)
                                                                  19                                                         [Relates to Docket No. 83]
                                                                  20
                                                                                A Motion to Convert Case Under 11 U.S.C. §1112(a) (the “Motion”) [Docket No. 83] was
                                                                  21
                                                                       filed by debtor, Home Loan Center, Inc., on September 5, 2019. Having reviewed the Motion, and
                                                                  22
                                                                       good cause appearing, the Court hereby orders that:
                                                                  23
                                                                                1.    The Motion is GRANTED.
                                                                  24
                                                                                2.    The above-captioned case is hereby converted to a case under chapter 7 of Title 11 of
                                                                  25
                                                                       the United States Code.
                                                                  26

                                                                  27                                              **END OF ORDER*
                                                                  28


                                                                   Case: 19-51455       Doc# 91    Filed: 09/16/19    Entered: 09/16/19 13:09:37          Page 1 of 2
                                                                   1   COURT SERVICE LIST

                                                                   2   All ECF Participants

                                                                   3

                                                                   4

                                                                   5

                                                                   6

                                                                   7

                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                   Case: 19-51455     Doc# 91   Filed: 09/16/19   Entered: 09/16/19 13:09:37   Page 2 of 2
